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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHI`NGTON

AT sEATTLE
UNITED sTATEs oF AMERICA, No. M J m mo
Plam“ff’ CoMPLAINT FoR vloLATloN
18 U.s.c. § 875(¢)
V.
cHAsE BLISS coLAsURDo,
Defendant.

 

 

 

 

BEFORE, Brian A. Tsuchida, United States Magistrate Judge, Seattle, Washington.

The undersigned complainant being duly sworn states:

COUNT 1

(Interstate Threats)

On or about February 26-27, 2019, at Kent, within the Western District of

to injure J.K.

Washington, and elsewhere, CHASE BLISS COLASURDO knowingly and willfully
transmitted in interstate and foreign commerce, from the State of Washington to another

state, communications, in the form of Instagram posts and an email, that contained threats

All in violation of Title 18, United States Code, Section 875(c).

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COUNT 2
(Interstate Threats)

On or about March 4, 2019, at Kent, within the Western District of Washington,
and elsewhere, CHASE BLISS COLASURDO knowingly and willfully transmitted in
interstate and foreign commerce, from the State of Washington to another state, a
communication, in the form of an Instagram post, that contained a threat to injure D.T. Jr.

All in violation of Title 18, United States Code, Section 875(c).

The undersigned complainant, Brian R. Lovelace, being duly sworn, further
deposes and states as follows:

INTRODUCTION

1. I am a Special Agent (“SA”) With the Federal Bureau of Investigation
(“FBI”), and have been so employed since September 2018. I am currently assigned to
the violent crime/organized crime squad in the Seattle, Washington office. As an FBI
Special Agent, I have investigated a variety of violent crimes including cases involving
threats of violence.

2. The facts set forth in this Affldavit are based on my own personal
knowledge; information obtained from other individuals during my participation in this
investigation, including other law enforcement officers; review of documents and records
related to this investigation; communications with others who have personal knowledge
of the events and circumstances described herein; and information gained through my
training and experience

3. Because this Affldavit is submitted for the limited purpose of establishing
probable cause in support of a criminal complaint, it does not set forth each and every
fact that I, or others, have learned during the course of this investigation
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SUMMARY OF PROBABLE CAUSE
A. Threatening Social Media Posts.

4. On March 16, 2019, the FBI received a tip from a concerned citizen about
social media posts by CHASE BLISS COLASURDO over Instagram and other social
media outlets. The FBI and the United States Secret Service conducted an investigation
in response to this tip. The agents located a publically viewable Instagram account with
the user/handle name of “Chase_Bliss_Colasurdo.” This account has numerous posts
depicting images of COLASURDO, including selfies and other photographs, along with
textual references, making clear that he is, in fact, the user of the account.l

5. On February 26, 2019, COLASURDO sent an email from his Gmail
account to five different media outlets and news agencies stating, “I’m going to
personally Execute [White House Senior Advisor J.K.] for his countless treasonous
crimes.”2

6. On February 27, 2019, COLASURDO posted on his Instagram account a
picture of a hand pointing what appears to be black handgun directly at a photograph of
J.K.’s head. In the comments section, COLASURDO wrote, “Mossad can sneak in your
house and take a picture. . . . This sneaky mossad agent has never been so serious about
something as he is about putting a bullet in [J.K.’s] brain. It must be done.”

7. On February 27, 2019, COLASURDO posted on his Instagram account a
picture of himself holding what appears to be a black handgun. In the comments section,
COLASURDO wrote, “I made a death threat against [J.K.] yesterday and I have not been
arrested yet. Almost like I have special forces murdering anyone trying to fuck with me

or something . . . By the way I do still plan on personally executing him, ideally.”

 

' Instagram is a social media company located in Menlo Park, Califomia.

2 Google is based in Mountain View, Califomia. According to records obtained from Google, this Gmail account is
subscribed to in COLASURDO’s name. This and other emails were obtained by the Los Angeles Police
Department via a search warrant related to a separate investigation of online threats made by Colasurdo against Los
Angeles-based news and media reporters.

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8. On March 14, 2019, COLASURDO posted on his Instagram account a
picture of J.K. and his wife, along with the comment: “They are far more dangerous than
cockroaches and Should be executed.”

9. On March 4, 2019, COLASURDO posted a picture of D.T. Jr. on his
Instagram account. In the comments section, COLASURDO wrote, “I would just like to
let the secret service know that I am going to Execute this faggot. And there is nothing
you can do about it, as indicated by the fact that I have been posting death threats against
politicians for like a week and arn still here posting.”

B. Interview of Colasurdo on March 19, 2019.

lO. On March 19, 2019, FBI Special Agent Adam Roeser, FBI Task Force
Officer Scott Miller, and United States Secret Service Agent Doug Robertson interviewed
COLASURDO at his residence in Kent, Washington, in reference to the above
threatening communications COLASURDO claimed that someone hacked his account
and made the specific threatening posts described above. He further stated that he had no
plan to hurt anyone and that any photographs of him with firearms would actually be BB
guns. COLASURDO was asked if there would be any more social media posts
containing threats, and he said, “No.”

ll. During the interview, COLASURDO stated that he was previously
diagnosed with Paranoid Schizophrenia at a mental facility following his arrest in 2015.
He stated that he was not currently taking any medications or seeing a mental health
professional. COLASURDO also admitted that he was a regular user of marijuana.
COLASURDO made several seemingly delusional comments about the Israeli
intelligence service Mossad, including that the Mossad was trying to kill him and was
using an electromagnetic weapon against him, COLASURDO also made numerous anti-
Semitic comments expressing hostility against Jews.

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C. Colasurdo’s Continued Threatening Communications.

12. Since the above-referenced interview, COLASURDO has continued to
make threats using social media and his email account against Jews and public figures.
For example, on March 25, 2019, COLASURDO posted a photo of himself holding what
appears to be a black handgun with the caption: “It’s Time To Start Bombing
Synagogues.” As recently as Apri129, 2019, he reposted on Instagram a photograph
taken at the funeral for the victims of the recent Califomia synagoguc shooting with the
comment: “We need to bomb synagogues.” COLASURDO is also presently being
investigated by the Los Angeles Police Department for cyberstalking and threatening to
kill multiple Los Angeles-based news and media reporters.

D. Colasurdo’s Recent Purchases and Attempted Purchases.

13. Based on a review of COLASURDO’s emails received at his above-
referenced Gmail account, I am aware that between April 3, 2019, and April lO, 2019, he
received emails confirming his purchase of the following items:

0 Bulletproof Baseball Cap;

0 Level IIIA Bulletproof Vest T-Shirt Concealable Kevlar Body Armor;
0 Level III Rifle Plates Rifle Arrnor;

0 Level II Rifle Armor Backpack;

¢ Concealable gun holster for a Sig Sauer SP2022 handgun; and

0 Six boxes containing 50 rounds of 9mm ammunition

14. On April 3, 2019, COLASURDO attempted to purchase a Sig Sauer
SP2022 9mm semi-automatic pistol online from the Sportsman’s Warehouse for the price
of $549.00. Several days after COLASURDO made the payment, the firearm purchase
was denied due to a flag entered by the U.S. Secret Service into the NICS database
system. Thereafter, on April 16, 2019, COLASURDO received an email confirming the

reii.ind of the purchase price.

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E. Search of Colasurdo’s Residence on May 1, 2019.

15. On May l, 2019, at approximately 11:00 a.m., COLASURDO was arrested
for the offenses listed in this Complaint. On that same day, a state search warrant was
executed at COLASURDO’s residence The following items of evidentiary value were
located at the residence:

0 All of the ballistic armor items referenced above in paragraph 13;
¢ 345 rounds of 9mm ammunition;
0 9mm firearm magazine loaded with rounds of 9mm ammunition;
0 Unloaded 9mm firearm magazine;
0 Firearm accessories, including optics and LED laser mounts;
0 Three firearm holsters;
¢ Multiple airsoft firearms;
0 Night vision goggles;
0 Gas mask;
o Nazi flag with swastika;
0 Framed portrait of Adolph Hitler; and
0 Books including “Hitler’s Revolution” and “The Protocols of Learned
Elders of Zion.”
F. Colasurdo’s Criminal History.

16. COLASURDO was arrested for assault on two separate occasions in 2015.
Based on the review of the law enforcement and court records related to these arrests, I
am aware that the assaults related to a disturbance at AMC Kickboxing in Kirkland,
Washington, during which COLASURDO assaulted the owner of the business.
COLASURDO told the arresting officers that he had smoked methamphetamine and
marijuana, as well as drank alcohol, a few hours prior to the assault. As a result,
COLASURDO was transported to the hospital for treatment While at the hospital,
COLASURDO grabbed at a police officer’s gun with his left hand, attempting to remove

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the gun from the holster. COLASURDO’s right hand was handcuffed to the bed rail.
The officer grabbed COLASURDO’s hand and COLASURDO attempted to kick the
officer in the face. The officer knocked COLASURDO off of the bed and again he tried
to grab the officer’s gun with his left hand. Hospital security assisted the officer and they
were able to restrain COLASURDO.

l7. King County Court records show that the assault case was diverted to the
King County Mental Health Court, and that COLASURDO pleaded guilty to multiple
counts of Assault in the Fourth Degree and Malicious Mischief.

CONCLUSION

18. Based on the foregoing, I respectfully submit that there is probable cause to

believe that COLASURDO committed the above-referenced offenses.

312 turn

BRlAN R. LOVELACE
Special Agent, FBI

 

Based on the Complaint and Affidavit sworn to before me, and subscribed in my
presence, the Court hereby finds that there is probable cause to believe the Defendant

committed the offenses set forth in the Complaint.

Dated this Z day ofMay, 2019.

 

BRIAN A. TSUCHIDA
United States Magistrate Judge

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